Case 2:08-cv-00119-RAJ-FBS Document 100 Filed 11/12/08 Page 1 of 5 PageID# 6071



                         IN THE UNITED STATES DISTRICT COuEtFILED
                        FOR THE EASTERN DISTRICT OP VIRGINIA
                                        Norfolk Division
                                                                                       NOV 1 2 2003

 WESLEY     DOYLE      PAYNE,
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                        NORFOLK. VA

                 Plaintiff,


 V.                                                                      Action No.      2:08cvll9


 WYETH     PHARMACEUTICALS,           INC.,


                 Defendant.



                                                 ORDER


          Plaintiff,        Wesley           Doyle    Payne        ("Payne"),         brings      this

  negligence      action     against         Defendant,       Wyeth     Pharmaceuticals,          Inc.

  ("Wyeth Pharmaceuticals"),                  alleging that Wyeth Pharmaceuticals                     is

  vicariously liable            for   an     automobile       accident       in which    Payne     was

  injured and seeking $25,000,000 in compensatory damages.                               Presently

  before the Court is Wyeth Pharmaceuticals1                           Motion to Join American

  Legal    Funding as      a Real       Party in Interest.              After considering the

  motion, counsel's accompanying memoranda,                        and oral arguments before

  the    Court    on    November        3,    2008,    and    for      the   reasons     set     forth

  herein,    the    Court       DENIES       Wyeth    Pharmaceuticals'           Motion     to    Join

  American Legal         Funding as          a Real   Party in Interest.

                                   I.    Statement       of   Facts


          Payne's      Complaint      alleges        that   on    or   about   January     8,    2007,

  Wyeth      Pharmaceuticals'                 employee,          Michael       Charles      Romano,

  negligently drove his automobile into Payne's automobile.                               Compl.      UU

  5-6.    Payne allegedly was seriously injured,                        suffering,     among other

  things,    a     severe       brain        injury    that      has    left    him    permanently
Case 2:08-cv-00119-RAJ-FBS Document 100 Filed 11/12/08 Page 2 of 5 PageID# 6072



 impaired.           Compl.       H 8.    Payne brought this diversity action against

 Wyeth        Pharmaceuticals             on     March       10,     2008,        seeking       compensatory

 damages.

          Beginning          in    July     2007,       Payne        began        receiving       funds       from

 American Legal Funding, LLC ("ALF") under the terms of a Consensual

 Equity Lien and Security Agreement                             to help          fund this        suit.       Def.

 Mem.     Supp.      Ex.    4.    Under the terms of the initial agreement between

  Payne       and    ALF,    and     the    terms       of     all    subsequent          agreements,             ALF

  advanced funds to Payne in return for a lien and security interest

  in any future proceeds of the instant litigation.                                        Def.       Mem.    Supp.

  Exs.    3    and 4.        Each agreement             states       that        the   advanced funds             are

  investments by ALF in the litigation and not a loan to Payne.                                                   Id.

  Specifically,             Payne will owe no money to ALF at                            the conclusion of

  the case          if Payne receives no payment                      or recovery.              Id.     Further,

  each agreement provides                   that       Payne    is not making an assignment                        of

  his    case or cause of                action to ALF.              Id.

                                                 II.    Analysis


                                     A.    Real    Party in Interest


          Federal Rule of Civil                  Procedure 17 provides that                      "[a]n action

  must be prosecuted in the name of the real party in interest."                                                  The

  purpose of Rule 17                is to ensure that              the person bringing a lawsuit

  has    the        right    to    enforce       the    asserted           claim.        Virginia        Elec.      &

  Power Co.          v.    Westinqhouse          Elec.       Corp.,        485    F.2d    78,    83    (4th Cir.

  1973) .       In a diversity action,                  the question of whether a party may

  enforce       the       asserted right          is    determined by             the    state    substantive

  law.        Id.    Wyeth Pharmaceuticals asserts that reading Va.                                    Code Ann.

  §   8.01-13,            along    with    Va.     Code      Ann.      §    8.01-26,       results           in   the
Case 2:08-cv-00119-RAJ-FBS Document 100 Filed 11/12/08 Page 3 of 5 PageID# 6073



 assignee         of    the proceeds                of    a personal               injury action becoming                   a

 real party in interest under Virginia                                     law.          Def.    Mem.       Supp.       at 4.

 Virginia         law        expressly         provides             that       a    party       may    not        assign    a

 personal         injury cause of                  action,          but may assign               "the proceeds or

 anticipated proceeds                     of   any court             award or settlement,"                        Va.    Code

 Ann.     § 8.01-26,           and "[t]he mere fact that a party may benefit from

 the litigation in question does not raise that party                                                  [to the status

 of   a   real     party           in    interest] ."               In    re       Barrow,      87     B.R.       879,    887

  (Bankr.     E.D.           Va.    1988)(citing               Armour       Pharmaceutical                  Co.    V.    Home

  Ins.    Co. ,    60        F.R.D.       592,      594    (N.D.          111.      1973)).           Nothing       in Va.

  Code Ann.        §     8.01-13,         in providing that                     an assignee of a chose in

  action may maintain an action in his own name,                                              makes the assignment

  of proceeds of litigation equal to the assignment of the underlying

  claim.           Payne's              assignment         of        the       proceeds           of        the    instant

  litigation            to    ALF,       therefore,            does       not       convert      ALF        into    a    real

  party in interest because the assignment of the proceeds does not

  allow ALF to pursue Payne's personal injury action in its own name.

                         B.    Joinder of American Legal Funding,                                    LLC

          Regardless               of   whether          ALF    is    a    real      party       in     interest,          the

  question of            whether ALF must                 be    joined as             a    party       in    the    instant

  litigation is governed by Fed.                               R.    Civ.      P.    19(a),      which states:

          A person who is subject to service of process and whose
          joinder will not deprive the court of subject-matter
          jurisdiction must be joined as a party if:
                       (A)     in       that     person's            absence,            the    court        cannot
                               accord complete relief among existing parties;
                               or

                       (B)     that person claims an interest relating to the
                               subject         of    the action and                 is    so situated             that
                               disposing            of     the        action             in     the     person's
                               absence         may:
                               (i)       as    a    practical             matter          impair      or     impede
Case 2:08-cv-00119-RAJ-FBS Document 100 Filed 11/12/08 Page 4 of 5 PageID# 6074



                               the     person's       ability          to        protect      the
                               interest;       or
                        (ii)   leave an existing party subject     to a
                               substantial  risk of   incurring  double,
                               multiple,   or   otherwise   inconsistent
                               obligations because of the interest.



 Neither party has contested this Court's ability to accord complete

 relief        among    the    existing       parties      without           joining       ALF      as     a

 plaintiff.           Further,   ALF       claims   no   interest           that    relates      to the

 personal injury          action that is being litigated here.                          The personal

  injury cause of         action has not,           and cannot,             be    assigned to ALF.

 ALF's interest in the proceeds of the litigation is wholly separate

  from having any interest in the litigation itself.

          Additionally,        ALF     has    taken      steps       outside       of   the      instant

  litigation that will sufficiently protect its interest in the event

  that Payne is awarded a judgment or receives a settlement in this

  case.        Specifically,          each   advance      of        funds    is    evidenced         by    a

  consensual      equity lien and security agreement                         authorizing ALF to

  file a financing statement pursuant to the Uniform Commercial Code

   ("UCC")     to perfect its security interest.1                      Def. Mem.        Supp.       Exs.   3

  and   4 .

          At    the    hearing        on   November       3,        2008,    counsel       for       Wyeth

  Pharmaceuticals argued that the existence of these agreements and

  UCC filings puts Wyeth Pharmaceuticals at substantial risk of being

  subject        to    additional          litigation          or     of     incurring         multiple




       1 At the hearing on November 3,   2008, counsel for Wyeth
  Pharmaceuticals informed the Court that ALF has filed financing
  statements pursuant            to    its agreements with Payne.
Case 2:08-cv-00119-RAJ-FBS Document 100 Filed 11/12/08 Page 5 of 5 PageID# 6075



 obligations as to any dispensation of the case.                               The Court finds

 this argument unpersuasive.                 Until a judgment,            if any,     is entered

 for Payne, it is too speculative to hold that Wyeth Pharmaceuticals

 could be subject to further litigation so as to require the joinder

 of ALF as a plaintiff               in this      action.      Neither the lien nor the

 security      interest        in   the    proceeds      of   the    litigation may attach

 until   there is a judgment or settlement                          in this    case.2     See Va.

 Code Ann.     § 8.9A-203           (listing the requirements for attachment and

 enforceability of security interests).                       Without attachment, ALF has

 no   rights    that      it   could      assert    against     Wyeth Pharmaceuticals          in

  this action or any subsequent action.

                                          III.    Conclusion


         For    the       foregoing          reasons,         the     Court      DENIES     Wyeth

  Pharmaceutical's Motion to Join American Legal                           Funding as a Real

  Party in Interest            (Document No.         57) .    ALF    is not a real party in

  interest under Fed. R.             Civ.    P.    17,   and Fed. R.     Civ.    P.   19 does not

  require that ALF be joined as a plaintiff in this action.

                IT   IS   SO   ORDERED.




                                                         UNITED      STiSTES   MAGISTRATE JUDGE


  Norfolk,     Virginia

  November I On, 2008


       2 The UCC expressly requires that a debtor have rights in the
  collateral before a security interest is enforceable against the
  debtor or against third parties.   Va. Code Ann. § 8.9A-203(b)(2).
